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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 FT. MYERS DIVISION

   NAPLES PRIDE,

          Plaintiff,
   v.                                                      Case No. 2:25-cv-00291JES-KCD

   CITY OF NAPLES; NAPLES CITY
   COUNCIL; TERESA HEITMANN,
   TERRY HUTCHISON, RAYMOND
   CHRISTMAN, BETH PETRUNOFF,
   BILL KRAMER, LINDA PENNIMAN,
   and BERNE BARTON, in their official
   capacities, as City Council members;
   NAPLES POLICE DEPARTMENT; and
   CIRO DOMINGUEZ, in his official
   capacity as Naples Chief of Police,

        Defendants.
  __________________________________/

                           DEFENDANTS’ MOTION TO DISMISS

          Defendants, CITY OF NAPLES; NAPLES CITY COUNCIL; TERESA

  HEITMANN, TERRY HUTCHISON, RAYMOND CHRISTMAN, BETH

  PETRUNOFF, BILL KRAMER, LINDA PENNIMAN, and BERNE BARTON, in

  their   official     capacities,   as   City   Council     members;    NAPLES     POLICE

  DEPARTMENT; and CIRO DOMINGUEZ, in his official capacity as Naples Chief

  of Police, by and through the undersigned counsel, pursuant to Federal Rule of Civil

  Procedure 12(b)(6), request this Honorable Court enter an order dismissing Plaintiff’s

  complaint with prejudice, and as grounds state as follows:




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                                GROUNDS FOR MOTION

      1. Official capacity claims against Defendants are duplicative and improper.

      2. Defendant council members are entitled to legislative immunity.

      3. Plaintiff fails to plead any viewpoint.

      4. Plaintiff fails to assert a proper facial challenge.

                                        ARGUMENT

    I.   Standard

         In evaluating the sufficiency of a complaint, the court must accept well pleaded

  facts as true and resolve them in the light most favorable to the plaintiff. Beck v. Deloitte

  & Touche, 144 F.3d 732, 735 (11th Cir. 1998). However, if the plaintiff can prove no

  set of facts that would entitle him to relief, then the defendant is entitled to a dismissal

  for failure to state a claim. Although the plaintiff is not held to a very high standard on

  a Rule 12(b)(6) motion, the plaintiff is still required to “allege some specific factual

  bases for those conclusions or face dismissal” of the claim. Jackson v. Bellsouth, 372

  F.3d 1250, 1263 (11th Cir. 2004). Moreover, in reviewing a motion to dismiss, the

  court need only accept well pleaded facts and reasonable inferences drawn from those

  facts. Unsupported conclusions of law or of mixed fact and law have long been

  recognized not to prevent a rule 12(b)(6) dismissal. Dalrymple v. Reno, 334 F.3d 991,

  996 (11th Cir. 2003).

   II.   Official Capacity Claims Are Improper

         Plaintiff cannot bring an official capacity claim against all Defendants. This is

  the equivalent of suing the City itself. “[N]either a State nor its officers acting in their

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  official capacities are ‘persons' under section 1983.” See Will v. Michigan Department of

  State Police, 491 U.S. 58, 71 (1989). Section 1983 suits against officers in their official

  capacities “generally represent only another way of pleading an action against an

  entity of which an officer is an agent,” not against the officer individually. Kentucky v.

  Graham, 473 U.S. 159, 165, (1985) (quoting Monell v. Dep't of Soc. Servs., 436 U.S. 658,

  690 n.55, (1978)). As long as the entity received notice and the opportunity to respond,

  an official capacity suit imposes liability only on the entity. Graham, 473 U.S. at 166.

  The Graham Court further proclaimed, 473 U.S. at 167 n.14: “There is no longer a

  need to bring official-capacity actions against local government officials, for

  under Monell ... local government units can be sued directly for damages and injunctive

  or declaratory relief.” Here, Plaintiff’s claims are duplicative and unnecessary – every

  other Defendant has been sued in their official capacity.

  III.   Council Members Are Entitled to Immunity

         Moreover, the Court should also dismiss Defendants Heitmann, Hutchison,

  Christman, Petrunoff, Kramer, Penniman, and Barton as they are entitled to legislative

  immunity. Legislative immunity was established in the Speech and Debate Clause of

  the United States Constitution. U.S. Const. art. I, § 6, cl. 1. The clause protects not

  only the speech and debate of legislators, but also voting. Woods v. Gamel, 132 F. 3d

  1417, 1419 (1998), (citing Kilbourn v. Thompson, 103 U.S. 168, 204 (1880)). This

  absolute legislative immunity has been extended by the Supreme Court, beyond

  federal legislators, to state and regional legislators. Woods, 132 F. 3d at



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  1419 (citing Supreme Court of Virginia v. Consumers Union, 446 U.S. 719, 732 (1980)).

  And, absolute legislative immunity has been extended further to include local

  legislators. See Hernandez v. City of Lafayette, 643 F.2d 1188, 1193 (5th Cir.1981).

  “Voting, debate, and reacting to public opinion are manifestly in furtherance of

  legislative duties.” Woods, 132 F.3d at 1420; see also PEN American Center, Inc. v.

  Escambia County School Board, 745 F. Supp. 3d 1178, 1183 (N.D. Fla. Oct. 18, 2024)

  (holding school board members entitled to legislative immunity where votes were

  preceded by “public notice, the consideration of input from constituents and interested

  parties, and debate and discussion by Board members.”); Champ v. Hendry County Board

  of County Commissioners, Florida, 2019 WL 1877312 *1 (M.D. Fla. April 26, 2019)

  (holding county commissioners entitled to legislative immunity); Church of the Lukumi

  Babalu Aye, Inc. v. City of Hialeah, 688 F. Supp. 1522, 1526 (S.D. Fla. June 10, 1988)

  (“Holding a city council meeting is an essential function of the legislative process for

  which council members and the mayor are entitled to absolute immunity.”).

          Here, the facts of the complaint clearly indicate Defendants were engaged in a

  legislative function. There was a “public meeting,” 1 where the Council met

  “officially,” 2 lasted “multiple days” 3 and included significant public comment and

  debate before being put to a vote. 4 In addition to the official capacity claims, the Court

  should dismiss Defendants on the basis of legislative immunity.


  1
    Doc. 1, Pg. 19, ¶79.
  2
    Id.
  3
    Id. at ¶80.
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    Id. at Pg. 20, ¶81.

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  IV.    Plaintiff Fails to Properly Allege an As-Applied Challenge

         Where a plaintiff challenges the validity of a statute to vindicate plaintiff's own

  rights, the challenge is an “as-applied” challenge. Jacobs v. The Florida Bar, 50 F.3d 901,

  906 (11th Cir. 1995). When an “as-applied” challenge is brought, the Court rules on

  whether that application alone is constitutionally invalid.

         Count I does not specify which cause of action Plaintiff is proceeding under. It

  claims a “violation of 42 U.S.C. §1983,” but this is not a proper claim.

  since § 1983 merely provides a mechanism for enforcing individual rights “secured”

  elsewhere, i.e., rights independently “secured by the Constitution and laws” of the

  United States. Gonzaga University v. Doe, 536 U.S. 273, 285 (2002). “[O]ne cannot go

  into court and claim a ‘violation of § 1983’—for § 1983 by itself does not protect

  anyone against anything.” Chapman v. Houston Welfare Rights Organization, 441 U.S.

  600, 617 (1979). At best, Count I is a viewpoint discrimination claim. However,

  Plaintiff presents no viewpoint.

            a. Plaintiff’s Festival is a Limited Public Forum

         The First Amendment does not guarantee access to property just because it is

  owned by the government, and it does not guarantee the right to communicate one's

  views at all times and places or in any manner that may be desired. Bloedorn v. Grube,

  631 F.3d 1218, 1230 (11th Cir. 2011) (citations and quotations omitted); see also U.S.

  Postal Serv. v. Greenburgh Civic Ass'n, 453 U.S. 114, 131 (1981) (“[T]he mere fact that

  government property can be used as a vehicle for communication does not mean that

  the Constitution requires such uses to be permitted.”)             The government, like
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  any private landowner, may preserve the property under its control for the use to

  which it is lawfully dedicated. Id. at 1231 (citations and quotations omitted). The

  existence of a right of access to public property and the standard by which limitations

  upon such a right must be evaluated differ depending on the character of the property

  at issue. Perry Educ. Ass'n v. Perry Local Educators' Ass'n, 460 U.S. 37, 44 (1983).

         In order to determine the extent to which a person has a right to free speech on

  government property, courts engage in a three-step analysis. First, a court must

  determine whether the speech is protected under the First Amendment. Parkland

  Republican   Club    v.   City   of   Parkland,   268    F.Supp.2d     1349,    1352–1353

  (S.D.Fla.2003) (citing Cornelius v. NAACP Legal Def. & Educ. Fund, 473 U.S. 788, 797,

  (1985)). Second, the court must determine the nature of the relevant forum, which in

  turn determines the extent to which the government may limit access to the

  forum. Id. Third, the court must determine whether the justifications proffered by the

  government for limiting access to the forum satisfy constitutional standards. Id.

         "Courts use 'forum analysis to evaluate government restrictions on purely

  private speech that occurs on government property.'" Keister v. Bell, 879 F.3d 1282,

  1288 (11th Cir. 2018) (quoting Walker v. Tex. Div. Sons of Confederate Veterans, Inc., 135

  S. Ct. 2239, 2250, (2015)). There are several different forums – traditional public

  forums, designated (or limited) public forums, and nonpublic forums. Minnesota Voters

  Alliance v. Mansky, 585 U.S. 1, 11 (2018); McDonough v. Garcia, 116 F.4th 1319, 1325

  (11th Cir. 2024).



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          The major motivating purpose of Plaintiff’s event is for financial gain and is its

  “largest fundraiser.” (Doc. 12-1, Pg. 3, ¶ 9; Pg. 5, ¶ 18; Pg. 7-8, ¶ 30). Plaintiff’s festival

  is a private, ticketed event and charges admission for entry. (Doc. 1, Pg. 9, ¶ 34, Pg.

  21, ¶ 89). Naturally, due to the exclusive, limited purpose of Plaintiff’s event, the forum

  changes from a traditional public forum to a limited public forum. A limited public

  forum is limited and reserved “for certain groups or for the discussion of certain

  topics.” McDonough, 116 F.4th at 1328. 5

          In a limited public forum, the government may impose restrictions on speech

  that are reasonable and viewpoint neutral. Id. And the government “is not required to

  and does not allow persons to engage in every type of speech.” Good News Club v.

  Milford Cent. Sch., 533 U.S. 98, 106 (2001). Additionally, the limitation need not “be

  the most reasonable or the only reasonable limitation.” Cornelius, 473 U.S. at 808. The

  regulation is constitutional so long as it is “reasonable in light of the purpose which

  the forum at issue serves.” Perry Educ. Ass'n, 460 U.S. at 49. Restrictions “on the

  subject matter of the speech, on the identity or status of the speaker,” and “[on] access

  for reasons of manageability or the lack of resources” may all be reasonable. See Victory

  Through Jesus Sports Ministry Foundations v. Lee’s Summit R-7 School Dist., 640 F.3d 329,

  335 (8th Cir. 2011). The government may impose content-based restrictions on speech




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    The City’s ability to create limited public forums out of traditional public forums is not without
  legal precedent. See, e.g., Sistrunk v. City of Strongville, 99 F.3d 194 (6th Cir. 1996), People for the Ethical
  Treatment of Animals v. Giuliani, NYC 2000, 105 F.Supp.2d 294 (2000); Parkland Republican Club v. City
  of Parkland, 268 F.Supp.2d 1349 (S.D. Fla. June 4, 2003).

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  as a means of “avoiding controversy that would disrupt” the forum. Cornelius, 473 U.S.

  at 809.

            b. Plaintiff Presents No Articulable Viewpoint

        As mentioned above, the primary purpose of the forum is the festival – to raise

  money for Plaintiff’s “mission” – the provision of social services. (Doc. 1, Pg. 7, ¶28).

  This should properly be understood as Plaintiff’s “viewpoint.” Plaintiff provides no

  facts as to what the drag show actually represents – merely that it is a “type of

  performance art.” (Id. at Pg. 9, ¶37). There is no mention of who the performers are,

  the type of performance, the music played, or any indicia of what would constitute a

  viewpoint other than the performance assists Plaintiff’s fundraising efforts. Plaintiff

  has already been granted the permit for its festival, so there is no viewpoint of the

  Plaintiff that is prevented from being expressed – the festival can occur.

        Plaintiff’s real complaint then, is simply where one event (out of many) at the

  festival can take place. However, this does not automatically create a First

  Amendment violation. A regulation is not viewpoint discriminatory simply because it

  has an “incidental effect” on a certain subset of views. Ward v. Rock Against Racism,

  491 U.S. 781, 791 (1989). The performance is simply one of Plaintiff’s attendees, and

  belongs to the same class as the rest of the festival’s attendees, all who are attending

  the festival (forum) to “celebrate the LGBTQ+ community.” (Doc. 1, Pg. 2, ¶2).

        The City can properly regulate the use of the forum to reflect its security

  considerations. It has been firmly established as a matter of law that a state may

  regulate the use of its parks and streets for the protection of the public health, safety,
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  and welfare. Village of Schaumburg v. Citizens for a Better Environment, 444 U.S. 620

  (1980). The caselaw makes clear that public safety and security are significant

  government interests. See, e.g., Schenck v. Pro-Choice Network of W. New York, 519 U.S.

  357, 376, (1997) (holding that ensuring public safety and order is a significant

  governmental interest); Grider v. Abramson, 180 F.3d 739, 749 (6th Cir. 1999) (noting

  the “significant public interests in the maintenance of public safety, security, and

  order, including the physical protection of rally participants, spectators, passers-by,

  and law enforcement personnel” at a rally). Plaintiff cannot contest this general

  principle.

        Security considerations for a large private event such as the Plaintiff’s are

  appropriate given the context of the event as opposed to other forums of expression.

  Heffron v. International Soc. For Krishna Consciousness, Inc, 452 U.S. 640, 650-51 (1981).

  (finding that “[t]he flow of the crowd and demands of safety are more pressing in the

  context of” a state fair than of a public street) (emphasis added). The question before

  the Court in Heffron was whether it was a violation of the First Amendment when a

  religious organization wanted to disseminate religious literature and solicit donations

  at a state fair anywhere they pleased, when they had been assigned a specific location

  in the fair – even though this application limited the religious practices of the

  organization. Id. at 642.

        In explaining its reasoning, the Court noted that the principal justification

  asserted by the State in support of its rule limiting speech location was the need to

  “maintain orderly movement of the crowd given the large number of exhibitors and
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persons attending the fair.” Id. at 649. Similar to the festival in the instant matter,

Minnesota’s fair “confined individual exhibitors to fixed locations, with the public

moving to and among the booths or other attractions…” Id. at 650. Additionally,

because the fair attracted large crowds, it was a “substantial consideration” that the

State had an interest in the “orderly movement and control of such an assembly of

persons.” Id.

      As Plaintiff’s own complaint points out, the expected attendance of the event is

approximately 5,000. (Doc. 1, Pg. 9, ¶34). Such a large public event undoubtedly

presents valid security and logistical considerations. Plaintiff has provided no

viewpoint to support a discriminatory claim. Its event permit was granted. Plaintiff

simply wishes to have one element of its festival where it chooses, but this is not

enough to properly plead a First Amendment claim.

 V.   Plaintiff Fails to Properly Allege a Facial Challenge

      A facial challenge requires a heavier burden of proof than an as-applied

challenge. See Nat'l Endowment for the Arts v. Finley, 524 U.S. 569 (1998). A facial

challenge is one that seeks to invalidate a law even though the law's application in the

case under consideration may be constitutionally unobjectionable. Jacobs v. The Florida

Bar, 50 F.3d 901 (11th Cir. 1995). “The Supreme Court has expressed disfavor for

facial challenges because they ‘often rest on speculation’ and ‘raise the risk of

premature interpretation of statutes on the basis of factually barebones records.’ ” Sons

of Confederate Veterans, Inc. v. Atwater, 2011 WL 1233091, at *7 n.13 (M.D. Fla. Mar.



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30, 2011) (Antoon, J.) (quoting Wash. State Grange v. Wash. State Republican Party, 552

U.S. 442, 451 (2008).

       When a plaintiff pursues a facial attack, plaintiff bears the burden of proving

that the law could never be constitutionally applied, or is constitutionally overbroad.

When a facial challenge is brought, the Court rules on whether the entire Ordinance

is constitutionally invalid. To establish that a facial challenge to a governmental act

presents a real and substantial controversy, a plaintiff must show he has sustained, or

is in immediate danger of sustaining, a direct injury as the result of that act. See Babbitt

v. United Farm Workers Nat. Union, 442 U.S. 289, 298 (1979).

       The ripeness doctrine protects federal courts from engaging in speculation or

wasting their resources through the review of potential or abstract disputes. “The

doctrine seeks to avoid entangling courts in the hazards of premature

adjudication.” Felmeister v. Office of Attorney Ethics, 856 F.2d 529, 535 (3d Cir.1988).

Courts must resolve “whether there is sufficient injury to meet Article III's requirement

of a case or controversy and, if so, whether the claim is sufficiently mature, and the

issues sufficiently defined and concrete, to permit effective decision making by the

court.” Cheffer v. Reno, 55 F.3d 1517, 1524 (11th Cir. 1995).

       Here, Plaintiff presents no immediate injury. Plaintiff has not yet been required

to pay any fee. Nor has Plaintiff pled that they have attempted or otherwise appealed

any assessment of fees. Again, Plaintiff has already been granted a permit and has

received one every year since it first began to hold festivals. Its drag show performance



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is still allowed to take place. Plaintiff has not provided sufficient facts to illustrate that

the permitting process is facially invalid and relies on conclusory allegations.

          a. The Permit Process is Neutral

       Count II of Plaintiff’s complaint appears to combine multiple claims, alleging

that the permit and the security fee issue are one and the same. The City’s permit

process is a content neutral time place and manner restriction. It does not target

communicative activity per se, but all activity that is conducted within a public park.

Consequently,       the     analysis     set        forth   by     the       Supreme       Court

in Thomas v. Chicago Park District, 534 U.S. 316 (2002)          applies.     In Thomas,     the

Supreme Court reviewed an ordinance that required individuals to obtain a permit

before “conduct[ing] a public assembly, parade, picnic, or other event involving more

than fifty individuals” or engaging in an activity such as “creat[ing] or emit[ting] any

Amplified Sound.” Thomas, 534 U.S. at 318. Upon examining the law, the Supreme

Court found that it was “not even directed to communicative activity as such, but

rather to all activity conducted in a public park.” Id. at 322 (emphasis in original).

Thus, the Supreme Court determined that the ordinance amounted to a content-

neutral time, place, and manner restriction. Id. at 323.

       In order to survive scrutiny, the Supreme Court held, the content-neutral time,

place, and manner restriction embodied in the Thomas ordinance had to “contain

adequate standards to guide the official's decision [regarding whether to issue a permit]

and render it subject to effective judicial review.” Id. Additionally, Thomas appears

implicitly to reaffirm that content-neutral time, place, and manner restrictions must (1)
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not be based on the content of the message, (2) be narrowly tailored to serve a

significant governmental interest, and (3) leave open ample alternatives for

communication. Id. at 323 n.3

       The City’s permit process is analogous. The City’s Special Events Manual

(“Manual”) states that “festivals” and “carnivals” require a special event permit. (Doc.

12-20, Pg. 4). The Manual also provides that an event requires city council approval if

it contemplates the following content-neutral considerations: street closings, off-site

parking, amplified entertainment, city co-sponsorship, crowd attendance in excess of

1,500, and fireworks. Id. Plaintiff’s event contemplates nearly all of these

considerations.   Once     reviewed,    the    Special   Events     Committee   makes   a

recommendation to the City Council based on these guidelines. Id. at ¶4. Contrary to

Plaintiff’s assertion, the Manual defines “impact on the community” on objective

criteria – the number of participants. Id. at Pg. 6.

       The First Amendment’s protections are not absolute, however, since First

Amendment right must be harmonized with the “existence of an organized society

maintaining public order without which liberty itself would be lost....” Cox v. State of

New Hampshire, 312 U.S. 569, 574 (1941). The Supreme Court went on to say

in Cox that regulating the use of the public streets and restricting the use of highways

to promote the public convenience, “cannot be disregarded by the attempted exercise

of some civil right which in other circumstances would be entitled to protection.” Id. at

574. The Court thus upheld in Cox a municipality's right to require marchers to obtain

a license and pay a fee (not more than $300, at the time) before parading on public
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streets. The Court stated that “the question in a particular case is whether ... [the City's]

control is exerted so as not to deny or unwarrantedly abridge the right of assembly and

the opportunities for the communication of thought and the discussion of public

questions immemorially associated with resort to public places.” Id.

       As a matter of common sense and logic, the Manual designates the Naples

Police as the “primary subject matter experts on the safety and security for all events

in the City of Naples.” (Doc. 12-20, Pg. 7). That Plaintiff criticizes this point is

surprising. It certainly begs the question – if the local police are not in the best position

to evaluate the safety and security of an event in their jurisdiction, then who would be?

Plaintiff proposes no alternative.

       While Plaintiff attempts to connect the “unfettered discretion” of Forsyth to the

instant matter, but the Manual clearly lays out that any event organizer must provide

a security plan. Id. at Pg. 7. When a special event is applied for, Naples Police meet

with the event planner and follow the Pre-Event Planning procedure to develop to

draft an operational plan for each event. Such a procedure is not without legal

precedent. The City’s permit process also provides an extra layer of review on First

Amendment grounds in the event a special event permit application is denied. See

Naples, Fla., Code of Ordinances §2-167 et seq. Plaintiff did not take advantage of this

process.




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           b. The Assessment of Security Fees is an Appropriate Law Enforcement Function 6

       Simply alleging the police should not have discretion to assess security fees is

contrary to logic and the weight of the law. A city may charge a cost-based fee for the

burden on public services from an event. See Cox v. State of New Hampshire, 312 U.S.

569, 576–77 (1941). Further, in determining the personnel, resources, and costs needed

for public safety and convenience (and in determining whether a permit should issue),

the government may properly consider the professional judgments of police and other

officials about the personnel, resources, and costs needed for public safety and

convenience, including for traffic control and clean-up. See Sullivan v. City of Augusta,

511 F.3d 16, 37 (1st Cir. 2007).

       The city's assessment of the services required for an event may reasonably vary.

“Parades and marches obviously vary enormously in terms of size, timing, duration

and location, resulting often in quite different traffic control needs.” Id. at 36. “[A]

concern with the burden on public services that parades and other open-air assemblies

impose ... would be entirely legitimate and would permit the charging of a cost-based

fee.” Church of American Knights of Ku Klux Klan v. City of Gary, 334 F.3d 676, 682 (7th

Cir. 2003) (citing Cox and other cases). [F]ees based upon a sliding scale considering

the anticipated attendance of the festival are not content-based but, instead, are

reasonably related to the expenses of policing the activities in question.” Coal. for the




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 Defendants incorporate by reference all arguments and exhibits mentioned in their response to
Plaintiff’s motion for a preliminary injunction. (Doc. 39).

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Abolition of Marijuana Prohibition v. City of Atlanta, 219 F.3d 1301, 1321 (11th Cir.

2000)(“CAMP”).

      The court in Sullivan also noted that there was “no evidence that there exists

any meaningful advance ‘formula’ that could be inserted in an ordinance to determine

the number of needed officers and vehicles in a given case … and parades and marches

obviously vary enormously in terms of size, timing, duration and location…” 511

F.3d. at 37. Just as the plaintiffs in Sullivan, the Plaintiff here presents no example of

the sort of ‘formula’ to properly address safety and logistical concerns for a 5,000-

person event - or any other event.

      Sullivan conclusively held that the police may make “professional judgment[s]”

on how to “calculate the costs of traffic control and clean up.” Id. at 37. These

“professional judgments” particularly in regards to “public safety and convenience are

paradigmatically permissible considerations in the issuance of permits.” New England

Regional Council of Carpenters v. Kinton, 284 F.3d 9, 26 (1st Cir. 2002). And judgments

about public safety are inherently within the competence of permitting officials. Id. As

a result, given the unique security considerations with planning a large event, the City’s

permit is reasonable and leave open alternatives for communication.

      Courts have repeatedly acknowledged that large events inherently create

significant security concerns, even when there are no known specific threats. See,

e.g., Citizens for Peace in Space v. City of Colo. Springs, 477 F.3d 1212, 1223 (10th Cir.

2007) (“Here, the security zone directly advanced the City's interest in keeping

explosives away from the NATO conference because it limited access near the
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[conference site] to identified and screened individuals who were less likely to pose

any threat to the delegates.”); Bl(a)ck Tea Soc'y, 378 F.3d 8, 12 (1st Cir. 2004) (“[T]here

can be no doubting the substantial government interest in the maintenance

of security at political conventions.”); Nat'l Council of Arab Americans v. City of New

York, 331 F. Supp. 2d 258, 272 (S.D.N.Y. 2004) (“[T]his Court cannot blind itself to

the daunting security concerns facing [New York City] during the [2004] Republican

National Convention.”).

      As noted in response to Plaintiff’s motion for preliminary injunction, Plaintiff

was informed that there was logical, viewpoint neutral reasons for the increase in

security fees. Plaintiff was informed that some police resources had not been billed to

them in the past. Security for all events had increased. Some resources were also

provided by the Sheriff’s Office, and do not reflect any decision of the City to impose

costs. (Doc. 39-18).

      The City was and is also required to limit the permit of Naples Pride given the

uncertainty in the law. As Plaintiff pointed out the Middle District, in HM Florida-

ORL, LLC v. Griffin, 679 F.Supp.3d 1332,1335 (M.D. Fla. June 23, 2023) recently

determined that Florida Statute - Fla. Stat. § 827.11—which prohibits any person from

knowingly admitting a child to an “adult live performance” was overbroad. Id. at 1344.

However, the preliminary injunction was only granted to Plaintiff and against Melanie

Griffin, in her official capacity as Secretary of the Florida Department of Business and

Professional Regulation. Id. at 1345.



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There is a concern, given the state of the law as it is, that the City or its employees are

susceptible to prosecution if the permit is granted. “Federal courts enjoy the power to

enjoin individuals tasked with enforcing laws, not the laws themselves.” Whole

Woman’s Health v. Jackson, 141 S. Ct. 2494, 2495 (2021) (citing California v. Texas, 593

U.S. 659, 672 (2021)); and the law may remain binding as applied to Naples.

       Wherefore, Defendants respectfully request this Court dismiss Plaintiff’s

complaint.

                        LOCAL RULE 3.01(g) CONFERRAL

       Pursuant to Local Rule 3.01(g), the undersigned, David Jadon, and counsel for

Plaintiff, Samantha Past, have conferred in good faith via phone and email on May 5,

2025. Plaintiff is opposed to relief requested in this motion.

                            CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
via CM/ECF on this 30th day of April, 2025, to: Samantha J. Past, Esquire, Daniel
B. Tilley, Esquire, AMERICAN CIVIL LIBERTIES, UNION FOUNDATION OF
FLORIDA, 4343 West Flagler Street, Suite 400, Miami, FL 33134, spast@aclufl.org;
dtilley@aclufl.org; Anthony J. Wong, Esquire, Daniel B. Tilley, Esquire, Jonah M.
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jszaremby@pbwt.com; maweiss@pbwt.com; tkurland@pbwt.com. (Attorneys for
Plaintiff).



                                                 /s/ David R. Jadon
                                                 David R. Jadon, Esquire
                                                 Florida Bar No.: 1010249
                                                 Roper, Townsend & Sutphen, P.A.

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                                           CHRISTMAN, BETH
                                           PETRUNOFF, BILL KRAMER,
                                           LINDA PENNIMAN, and BERNE
                                           BARTON, in their official capacities,
                                           as City Council members; NAPLES
                                           POLICE DEPARTMENT ; and
                                           CIRO DOMINGUEZ, in his official
                                           capacity as Naples Chief of Police




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